      Case 5:20-cr-00065-LHK Document 2 Filed 02/19/20 Page 1 of 16
         Case 3:09-cr-02438-PRM Document 8 Filed 09/02/09 H~~~J of 2
                                                                         ~PHILIP MARTINEZ
                         IN THE UNITED STATES DISTRICT COURT                          FI LED
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION                            2009 SEP -2 PH        ~:   21
                                                                               ClUU<. \;S Di>TR! CT COURT
 UNITED STATES OF AMERICA,                      §     CRIMINAL NO. EP-09.!CR_JER ~RI CT OF TEXA S
                                                §                               BY      ·
         Plaintiff,                             §     I NDI c T M E NT                      D~PUTY             •
                                                §
 v.                                             §     CT 1: 21 :952(a)-lmportation of a
                                                §     Controlled Substance;
 ALFREDO VARGAS-NA VA,                          §     CT 2: 21:84l(a)(l)-Possession of a
                                                §     Controlled Substance With Intent to
         Defendant.                             §     Distribute
                                                §

        THE GRAND JURY CHARGES:                      EP09CR2438
                                         COUNT ONE
                        (21 U.S.C. §§ 952(a), 960(a)(1) & 960(b)(l)(B)(ii))

        That on or about August 6, 2009, in the Western District of Texas, Defendant,

                                  ALFREDO VARGAS-NAVA,

knowingly and intentionally imported into the United States from Mexico a controlled substance,

which offense involved 1 kilogram or more of a mixture or substance containing a detectable amount

ofheroin, a Schedule I Controlled Substance, in violation ofTitle 21, United States Code, Sections

952(a), 960(a)(l) and 960(b)(1 )(B)(il).
     Case 5:20-cr-00065-LHK Document 2 Filed 02/19/20 Page 2 of 16
          Case 3:09-cr-02438-PRM Document 8 Filed 09/02/09 Page 2 of 2




                                         COUNT TWO
                          (21 U.S.C. §§ 841(a)(l) & 841(b)(l)(A)(ii)(ll))

        That on or about August 6, 2009, in the Western District ofTexas, Defendant,

                                  ALFREDO VARGAS-NA VA,

knowingly and intentionally possessed with intent to distribute a controlled substance, which offense

involved 1 kilogram or more of a mixture or substance containing a detectable amount of heroin, a

Schedule I Controlled Substance, in violation ofTitle 21, United States Code, Sections 841 (a)( 1) and

841 (b)(1 )(A)(ii)(II).


                                              A TRUE BILL.




                                              FOREPERSON OF THE GRAND JURY

JOHN E. MURPHY
ACTING UNITED STATES ATTORNEY


BY: ~
       Assistant U.S. Attorney
                      Case 5:20-cr-00065-LHK Document 2 Filed 02/19/20 Page 3 of 16
                      Case 3:09-cr-02438-PRM Document 37 Filed 03/09/10 Page 1 of 6
AO 245 B !Rev. 06/0Sl!W.D.TX.l - Judgment rna Criminal Case
                                                                                                          FILED
                                        UNITED STATES DISTRICT COURT
                                                                                                        MAR 0 9 20i0
                                             Western District of Texas
                                                              EL PASO DIVISION

UNITED STATES OF AMERICA

        v.                                                               Case Number     EP-09-CR-2438 PRM
                                                                         USM Number      48051-280
ALFREDO VARGAS-NAVA

       Defendant.
                                                JUDGMENT IN A CRIMINAL CASE
                                      (For Offenses Committed On or After November 1, 1987)


          The defendant. ALFREDO VARGAS-NAVA, was represented by Joseph Rey,. Jr.

          On motion of the United States, the Court has dismissed Count 2.

          The defendant pled guilty to Count 1 of the Indictment on January 20, 2010. Accordingly, the defendant is adjudged
guilty of such Count, involving the following offense:


Title & Section              Nature of Offense                                   Offense Ended

21 usc 952.                  Importation of a controlled substance,              8-6-2009                            1
and 960                      to-wit: heroin > 1 kg


         As pronounced on March 8, 2010. the defendant is sentenced as provided in pages 2 through 6 of this Judgment. The
 sentence is imposed pursuant to the Sentencing Reform Act of 1984.

          It is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
 Judgment are fully paid. If ordered to pay restitution, the defendant shall notify the Court and United States Attorney of any
 material change in the defendant's economic circumstances..

          Signed this the -!&ay of March, 2010.
                     Case 5:20-cr-00065-LHK Document 2 Filed 02/19/20 Page 4 of 16
                     Case 3:09-cr-02438-PRM Document 37 Filed 03/09/10 Page 2 of 6
AO 245 B (Rev. 06/0S)(W.D.TX.) ·Imprisonment



                                                                                                             Judgment-Page 2
Defendant: ALFREDO VARGAS-NAVA
Case Number: EP-09-CR-2438 PRM

                                                      IMPRISONMENT

       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
one-hundred and fifty-one (151) months with credit for time'served while in custody for this federal offense.


         The Court makes the following recommendations to the Bureau of Prisons:

         That the defendant participate in the (500 hour) Comprehensive Drug Treatment program while incarcerated.

        Defense counsel requests that the defendant serve this sentence at a facility as close to Sacramento, California
as possible.

         The defendant shall remain in custody pending service of sentence.




                                                           RETURN

         I have executed this Judgment as follows:




         Defendant delivered o n - - - - - - - - - - to------~""'":"'"--~..,.--,--,...--,...-­
 at-----------------------·· with a certified copy of this Judgment.
                                                                               United States Marshal

                                                                              By ___~~~~~--
                                                                                    Deputy Marshal
                     Case 5:20-cr-00065-LHK Document 2 Filed 02/19/20 Page 5 of 16
                     Case 3:09-cr-02438-PRM Document 37 Filed 03/09/10 Page 3 of 6
AO 245 B (Rev. 06105)(W.D.TX.)· Supervised Release

                                                                                                             Judgment-Page 3
Defendant: ALFREDO VARGAS-NAVA
Case Number: EP-09-CR-2438 PRM

                                                     SUPERVISED RELEASE

         Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5) years.

         While on supervised release, the defendant shall comply with the mandatory, standard and if applicable, the special
conditions that have been adopted by this Court as set forth on pages 4 and 5 of this judgment.
                   Case 5:20-cr-00065-LHK Document 2 Filed 02/19/20 Page 6 of 16
                   Case 3:09-cr-02438-PRM Document 37 Filed 03/09/10 Page 4 of 6
AO 245 B (Rev. 05/04l(W.D.TX.l- Supervjsed Release

                                                                                                                 Judgment-Page 4
Defendant: ALFREDO VARGAS-NAVA
Case Number: EP-09-CR-2438 PRM
                                                CONDmONS OF SUPERVISION
Mandatory Conditions:
1)   The defendant shall not commit another federal, state, or local crime.

2)   The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a
     controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at
     least two periodic drug tests thereafter, as determined by the court.

3)   In supervised release cases only, the defendant must report to the probation office in the district to which the defendant is
     released within 72 hours of release from custody of the Bureau of Prisons.

4)   If convicted of a felony, the defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous
     weapon.

5)   The defendant shall cooperate in the collection of DNA as directed by the probation officer if the collection of such a
     sample is authorized pursuant to section 3 of the DNA Analysis Backlog Elimination Act of 2000 (42 U.S.C. § 1413a).

6)   If convicted of a sexual offense as described in 18 U.S.C. § 4042(c)(4), the defendant shall register with the state sex
     offender registration agency in the state where the defendant resides, works, or is a student, as directed by the probation
     officer.

7)   If convicted of a domestic violence crime as defined in 18 U.S. C.§ 3561(b), the defendant shall participate in an approved
     program for domestic violence.

8)   If the judgment imposes a fine or restitution, it is a condition of supervision that the defendant pay In accordance with the
     Schedule of Payments sheet of the judgment.

Standard Conditions:

1)   The defendant shall not leave the judicial district without permission of the court or probation Qfficer.

2)   The defendant shall report to the Probation Officer and shall submit a truthful and complete written report within the first
     five days of each month.

3)   The defendant shall answer truthfully all inquires by the Probation Officer and follow the instructions of the Probation
     Officer.

4)   The defendant shall support his or her dependents and meet other family responsibilities.

5)   The defendant shall work regularly at a lawful occupation unless excused by the Probation Officer for schooling, training or
     other acceptable reasons.

6)   The defendant shall notify the Probation Officer at least ten days prior to any change in residence or employment.

7)   The defendant shall abstain from the use of alcohol and shall not purchase, possess, use, distribute, or administer any
     controlled substance or any paraphernalia related to any controlled substance, except as prescribed by a physician.

B)   The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered.

9)   The defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
     convicted of a felony unless granted permission to do so by the Probation Officer.

10) The defendant shall permit a Probation Officer to visit him or her at any time at home or elsewhere and shall permit
    confiscation of any contraband observed in plain view of the Probation Officer.

11) The defendant shall notify the Probation Officer within seventy-two hours of being arrested or questioned by a law
    enforcement officer.

12) The defendant shall not enter into any agreement to act as an informer or special agent of a law enforcement agency
    without the permission of the Court.

13) As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
    defendant's criminal record or personal history or characteristics and shall permit the probation officer to make such
    notifications and to confirm the defendant's compliance with such notification requirement.
                   Case 5:20-cr-00065-LHK Document 2 Filed 02/19/20 Page 7 of 16
                   Case 3:09-cr-02438-PRM              Document 37 Filed 03/09/10 Page 5 of 6
AO 245 B <Rev. 05104UW.D.TX.l- Supervised Release

                                                                                                                Judgment-Page 5
Defendant: ALFREDO VARGAS-NAVA
Case Number: EP-09-CR-2438 PRM

14) If convicted of a sexual offense as described In 18 U.S.C. § 4042(c)(4), or has a prior conviction of a State or local offense
    that would have been an offense as described in 18 U.S.C. § 4042 (c)(4) if a circumstance giving rise to Federal
    jurisdiction had existed, the defendant shall participate in a sex offender treatment program approved by the probation
    officer. The defendant shall abide by all program rules, requirements and conditions of the sex offender treatment
    program, including submission to polygraph testing, to determine if the defendant Is in compliance with the conditions of
    release. The defendant may be required to contribute to the cost of the services rendered (copayment) in an amount to be
    determined by the probation officer, based on the defendant's ability to pay.

15) The defendant shall submit to an evaluation for substance abuse or dependency treatment as directed by the probation
    officer, and if deemed necessary by the probation officer, the defendant shall participate in a program approved by the
    probation officer for treatment of narcotic addiction or drug or alcohol dependency which may include testing and
    examination to determine if the defendant has reverted to the use of drugs or alcohol. The defendant may be required to
    contribute to the cost of the services rendered (copayment) In an amount to be determined by the probation officer, based
    upon the defendant's ability to pay.

16) The defendant shall submit to an evaluation for mental health counseling as directed by the probation officer, and if
    deemed necessary by the probation officer, the defendant shall participate in a mental health program approved by the
    probation officer. The defendant may be required to contribute to the cost of the services rendered (copayment) in an
    amount to be determined by the probation officer, based upon the defendant's ability to pay.

17) If the defendant is excluded, deported, or removed upon release from imprisonment, the term of supervised release shall
    be a non-reporting term of supervised release. The defendant shall not illegally re-enter the United States. If the
    defendant lawfully re-enters the United States during the term of supervised release, the defendant shall immediately
    report in person to the nearest U.S. Probation Office.

18) If the judgment imposes other criminal monetary penalties, it is a condition of supervision that the defendant pay such
    penalties in accordance with the Schedule of Payments sheet of the judgment

19) If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, It is a condition of
    supervision that the defendant shall provide the probation officer access to any requested financial information.

20) If the judgment imposes a fine, special assessment, restitution, or other criminal monetary penalties, it is a condition of
    supervision that the defendant shall not incur any new credit charges or open additional lines of credit without the approval
    of the probation officer unless the defendant is in compliance with the payment schedule.

The Court further adopts such of the following special conditions applied to the supervised person by the judge at the time of
sentencing:

1)   The defendant shall perform 100 hours of community service work without pay, at a location approved by the probation
     officer, at a minimum rate of four hours per week, to be completed during the term of supervision.
                     Case 5:20-cr-00065-LHK Document 2 Filed 02/19/20 Page 8 of 16
                     Case 3:09-cr-02438-PRM Document 37 Filed 03/09/10 Page 6 of 6
AO 245 B (Rev. 06/0S)(W.D.TX.) • CMP


                                                                                                                  Judgment-Page 6
Defendant: ALFREDO V ARGAS-NAVA
Case Number: EP-09-CR-2438 PRM

                                           CRIMINAL MONETARY PENALTIES/ SCHEDULE

          The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments
set forth. Unless the Court has expressly ordered otherwise. if this judgment imposes imprisonment, payment of criminal
monetary penalties is due during imprisonment. Criminal Monetary Penalties, except those payments made through Federal
Bureau of Prisons' Inmate Financial Responsibility Program shall be paid through the Clerk, United States District Court, 511 E.
San Antonio Street, Room 219 El Paso, Texas 79901 .

         The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
                                       Assessment                                                     Restitution

 TOTAL:                                $100.00                      $2,500.00                         $0

                                                       Special Assessment

         It is ordered that the defendant shall pay to the United States a special assessment of $100.00. Payment of this sum
shall begin immediately.



        The defendant shall pay a fine of $2,500.00. Payment of this sum shall begin immediately. The fine is below the
advisory guideline range pursuant to the defendant's inability to pay.




         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
specified otherwise in the priority order or percentage payment column above. However, pursuant to 18 U.S.C. § 3664(i), all
non-federal victims must be paid before the United States is paid.

       If the fine is not paid, the court may sentence the defendant to any sentence which might have been originally imposed.
See 18 U.S.C. §3614.

          The defendant shall pay interest on any fine or restitution of more than $2,500.00, unless the fine or restitution is paid in
full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. §3612(f). All payment options may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g}.

         Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) community restitution, (6} fine interest, (7) penalties, and (8) costs, including cost of prosecution and court
costs.

        Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of TiUe 18 for offenses
committed on or after September 13, 1994, but before April23, 1996.
Centralized CMIECF LIVE:- U.S. District Court:txwd
             Case 5:20-cr-00065-LHK     Document 2 Filed 02/19/20 Page 9 of 16           Page 1 of8


                                                                 CLOSED,PRO_ SE_LAW_CLERK

                           U.S. District Court [LIVE]
                        Western District of Texas (El Paso)
                CRIMINAL DOCKET FOR CASE#: 3:09-cr-02438-PRM-1

                                    Internal Use Only

Case title: USA v. Vargas-Nava                             Date Filed: 09/02/2009
Magistrate judge case number: 3:09-mj-04657-RPM            Date Terminated: 02/07/2018


Assigned to: Judge Philip R. Martinez

Defendant (1)
Alfredo Vargas-Nava                         represented by Alfredo Vargas-Nava
TERMINATED: 02/ 07/2018                                    #48051-280
                                                           FCIBASTROP
                                                           FEDERAL CORRECTIONAL
                                                           INSTITUTION
                                                           P.O. BOX 1010
                                                           BASTROP, TX 78602
                                                           PROSE

                                                           Edgar H. Holguin
                                                           Public Defenders Office
                                                           700 E. San Antonio St.
                                                           Room D-401
                                                           El Paso, TX 79901
                                                           (915)534-6525
                                                           Fax: 915/534-6534
                                                           Email: Edgar_Holguin@fd.org
                                                           TERMINATED: 01111/2016
                                                           LEAD ATTORNEY
                                                           ATTORNEY TO BE NOTICED
                                                           Designation: Public Defender or
                                                           Community Defender Appointment

                                                           . Joseph Joaquin Rey, Jr.
                                                             Attorney at Law
                                                             747 E. San Antonio
                                                             Suite 101
                                                             El Paso, TX 79901
                                                             (915)532-5401
                                                             Fax: 915/544-6743
                                                             Email: jreyjr@hotmail.com
                                                             TERMINATED: 03/09/2010
                                                             Designation: Retained



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. Centralized CM!ECF  LIVE- U.S. District Court:txwd
               Case 5:20-cr-00065-LHK     Document 2 Filed 02/19/20 Page 10 of 16 Page 2 of8



 Pending Counts                                               Disposition

 21 :952A=NI.F NARCOTICS-                                     Defendant's sentence is reduced to 121
 IMPORT, 1 KILOGRAM OF HEROIN                                 months or time served, whichever is
 (1)
                                                              later; followed by 5 yrs. suprvd. relse.,
                                                              $2,500 fme and $100 s/a

 Highest Offense Level (Opening)
 Felony

 Terminated Counts                                            Disposition
 21:841A=ND.F NARCOTICS- SELL,
 DISTRIBUTE, OR DISPENSE, 1
                                                              Dismissed
 KILOGRAM OF HEROIN
 (2)

 Highest Offense Level (Terminated)
 Felony

  Complaints                                                  Disposition
 21 :841A=ND.F- Narcotics- Sell,
 Distribute or Dispense, 21 :952=NI.F -
 Importation of Approximately 36.0 lbs.
 of Heroin



  Plaintiff
  USA                                           represented by Craig Howard Russell
                                                               Assistant U.S. Attorney
                                                               700 E. San Antonio
                                                               Suite 200
                                                               El Paso, TX 79901
                                                               (915) 534-6884
                                                               Fax: 915/534-3024
                                                               Email: usatxw.ecfepcrim@usdoj.gov
                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED


  Date Filed            #         Docket Text
  08/06/2009                      Arrest of Alfredo Vargas-Nava (fm,) [3:09-mj-04657-RPM]
                                  (Entered: 08/07/2009)
  08/07/2009                  1   COMPLAINT as to Alfredo Vargas-Nava. (fm,)        [3:09-~j-04657-
                                  RPM] (Entered: 08/07/2009)




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Centralized CM/ECF  LIVE- U.S. District Document
             Case 5:20-cr-00065-LHK     Court:txwd 2 Filed 02/19/20 Page 11 of 16 Page 3 of 8



 08/07/2009                 2   MOTION to Detain Defendant without Bond by USA as to Alfredo
                                Vargas-Nava. (fm, ) [3:09-mj-04657-RPM] (Entered: 08/07/2009)
 08/07/2009                 J NOTICE OF HEARING as to Alfredo Vargas-Nava: Detention
                                Hearing set for 8/12/2009 09:30AM before Judge Richard P. Mesa.
                                Preliminary Examination set for 8/12/2009 09:30AM before Judge
                                Richard P. Mesa. (fm, ) [3 :09-mj-04657-RPM] (Entered:
                                08/07 /2009)
 08/07/2009                     Minute Entry for proceedings held before Judge Richard P. Mesa:
                                Initial Appearance as to Alfredo Vargas-Nava held ori 8/7/2009
                                (Minute entry documents are not available electronically.) (Court
                                Reporter ERO.) (fm, ) [3 :09-mj-04657-RPM] (Entered: 08/07/2009)
 08/07/2009                     ORAL ORDER OF TEMPORARY DETENTION: NO BOND SET
                                as to Alfredo Vargas-Nava. Signed by Judge Richard P. Mesa. (fm, )
                                [3 :09-mj-04657-RPM] (Entered: 08/07/2009)
 08/07/2009                 4   ORDER APPOINTING FEDERAL PUBLIC DEFENDER as to
                                Alfredo Vargas-Nava Duty Pub. Defender-El Paso for Alfredo
                                Vargas-Nava appointed. Signed by Judge Richard P. Mesa. (fm, )
                                [3:09-mj-04657-RPM] (Entered: 08/07/2009)
 08/10/2009                 2 NOTICE OF ATTORNEY APPEARANCE: Edgar H. Holguin
                                appearing for Alfredo Vargas-Nava (Holguin, Edgar) [3:09-mj-
                                04657-RPM] (Entered: 08/10/2009)
 08/12/2009                 2   Minute Entry for proceedings held before Judge Richard P. Mesa:
                                Preliminary Examination and Detention Hearing as to Alfredo
                                Vargas-Nava held on 8/12/2009. PROBABLE CAUSE FOUND.
                                (Minute entry documents are not available electronically.) (Court
                                Reporter ERO.) (fm, ) [3:09-mj-04657-RPM] (Entered: 08/13/2009)
 08/12/2009                 1 ORDER GRANTING ~ Motion to Detain Defendant without Bond.
                                Bond set to DETAIN WITHOUT BOND as to Alfredo Vargas-Nava
                                (1). Signed by Judge Richard P. Mesa. (fm,) [3:09-mj-04657-RPM]
                                (Entered: 08113/2009)
 09/02/2009                 ~   INDICTMENT(Redacted Version) filed. Unredacted document
                                sealed pursuant to E-Government Act of 2002 as to Alfredo Vargas-
                                Nava (1) count(s) 1, 2. (mr, ) (Entered: 09/03/2009)
 09/02/2009                 2   Personal Data Sheet (Redacted) by USA as to Alfredo Vargas-Nava
                                (mr, ) (Entered: 09/03/2009)
 09/02/2009
                ~~         52   *SEALED* UNREDACTED INDICTMENT: In Compliance with
                                the E-Government Act, this document should remain SEALED and
                                not made available to the public as to Alfredo Vargas-Nava. (mn)
                                (Entered: 03/06/2017)
 09/03/2009                1Q   NOTICE OF HEARING as to Alfredo Vargas-Nava Arraignment
                                set for 9/1112009 11 :00 AM before Judge Michael S. McDonald.
                                Docket Call set for 9/30/2009 08:00AM before Judge Philip R.
                                Martinez. (mr, ) (Entered: 09/03/2009)



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             Case 5:20-cr-00065-LHK     Document 2 Filed 02/19/20 Page 12 of 16 Page 4 of8


 09110/2009                  11   NOTICE Regarding Plea Date by USA as to Alfredo Vargas-Nava
                                  (Russell, Craig) (Entered: 09/10/2009)
 09/11/2009                  l1 WAIVER of Personal Appearance at Arraignment and Entry of Plea
                                  ofNot Guilty by Alfredo Vargas-Nava (da, ) (Entered: 09/14/2009)
 09114/2009                  u    General ORDER of Discovery as to Alfredo Vargas-Nava. Signed
                                  by Judge Philip R. Martinez. (da, ) (Entered: 09/14/2009)
 09/30/2009                  14   Minute Entry for proceedings held before Judge Philip R.
                                  Martinez:Docket Call as to Alfredo Vargas-Nava RESET on
                                  9/30/2009 (Minute entry documents are not available electronically.)
                                  (rnr, ) (Entered: 09/30/2009)
 10/01/2009                  15   ORDER as to Alfredo Vargas-Nava, ORDER TO CONTINUE-
                                  Ends of Justice as to Alfredo Vargas-Nava, (Docket Call reset for
                                  10/29/2009 08:00AM before Judge Philip R. Martinez.). Signed by
                                  Judge Philip R. Martinez. (rnr, ) (Entered: 10/0 1/2009)
 10/29/2009                  16   Minute Entry for proceedings held before Judge Philip R.
                                  Martinez:Docket Call as to Alfredo Vargas-Nava held on
                                  10/29/2009. Defendant moves for rearraignrnent. (Minute entry
                                  documents are not available electronically.) (rnr, ) (Entered:
                                  10/29/2009)
 10/30/2009                  11   ORDER as to Alfredo Vargas-Nava, (Plea and Sentence set for
                                  11/ 19/2009 02:00PM before Judge Philip R. Martinez.). Signed by
                                  Judge Philip R. Martinez. (rnr, ) (Entered: 10/30/2009)
 11/03/2009                  .lli NOTICE OF ATTORNEY APPEARANCE: Joseph Joaquin Rey, Jr
                                  appearing for Alfredo Vargas-Nava (Rey, Joseph) (Entered:
                                  11103/2009)
 11/03/2009                  12 MOTION to Substitute Attorney by Alfredo Vargas-Nava. (Rey,
                                  Joseph) (Entered: 11/03/2009)
 11/04/2009                  20   ORDER GRANTING 19 Motion to Substitute Attorney Joseph J.
                                  Rey, Jr. for Edgar Holguin as to Alfredo Vargas-Nava (1). Signed by
                                  Judge Philip R. Martinez. (rnr, ) (Entered: 11 /04/2009)
 11 /04/2009                      Attorney Edgar H. Holguin terminated as to Alfredo Vargas-Nava.
                                  (rnr,) (Entered: 11104/2009)
 11/16/2009                  21   ***DOCUMENT DEFICIENT, INCORRECT DOCUMENT
                                  ATTACHED.*** Unopposed MOTION to Continue by Alfredo
                                  Vargas-Nava. (Rey, Joseph) Modified on 11/16/2009 (rnr, ).
                                  (Entered: 11/16/2009)
 11/ 16/2009                 22   DEFICIENCY NOTICE: re .£1 Unopposed MOTION to Continue as
                                  to Alfredo Vargas-Nava. ***INCORRECT DOCUMENT
                                  ATTACHED.*** (rnr, ) (Entered: 11116/2009)
 11/16/2009            511        (Court only) ***Motions terminated as to Alfredo Vargas-Nava: 21
                                  Unopposed MOTION to Continue filed by Alfredo Vargas-Nava.




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             Case 5:20-cr-00065-LHK
Centralized CM/ECF                       Document 2 Filed 02/19/20 Page 13 of 16 Page 5 of8
                    LIVE- U. S. District Court:txwd



                                 ***SEE DEFICIENCY NOTICE, DOCKET ENTRY #22*** (mr, )
                                 (Entered: 11 /16/2009)
 11/ 16/2009                23   Unopposed MOTION to Continue by Alfredo Vargas-Nava. (Rey,
                                 Joseph) (Entered: 11116/2009)
 11 /18/2009                24   ORDER GRANTING 23 Motion to Continue as to Alfredo Vargas-
                                 Nava (1) Docket Call set for 12/17/2009 08:00AM before Judge
                                 Philip R. Martinez. IT IS FURTHER ORDERED that the Plea and
                                 Sentencing Hearing set for 11/19/2009 is hereby VACATED ..
                                 Signed by Judge Philip R. Martinez. ( da, ) (Entered: 11/18/2009)
 11 /18/2009                     ·(Court only) Terminate Deadlines and Hearings as to Alfredo
                                  Vargas-Nava: (da, ) (Entered: 11 /18/2009)
 12/16/2009                 25   NOTICE OF INTENTION TO ENTER GUILTY PLEA by Alfredo
                                 Vargas-Nava (Rey, Joseph) (Entered: 12/16/2009)
 12/ 18/2009                26   ORDER as to Alfredo Vargas-Nava, ORDER TO CONTINUE-
                                 Ends of Justice as to Alfredo Vargas-Nava, ( Rearraignment set for
                                 1/20/2010 10:00 AM before Judge Richard P. Mesa.). Signed by
                                 Judge Richard P. Mesa. (mr, ) (Entered: 12/18/2009)

 01/20/2010                 27   Consent to administration of guilty plea and Rule 11 Allocution by a
                                 United States Magistrate Judge by Alfredo V argas-Nava (mr, )
                                 (Entered: 01 /21 /2010)

 01 /20/2010                28   Minute Entry for proceedings held before Judge Richard P.
                                 Mesa:Rearraignment held on 1/20/201 0 ; Plea of guilty entered as to
                                 Alfredo Vargas-Nava (1) Count 1 ;Referred to Probation for
                                 Presentence Report (Minute entry documents are not available
                                 electronically .) (Court Reporter ERO.) (mr, ) (Entered: 01 /21 /2010)

 01 /20/2010                29   PLEA AGREEMENT as to Alfredo V argas-Nava (Plea agreement
                                 documents are not available electronically.) (mr, ) (Entered:
                                 01 /21 /2010)

 01120/2010                 30   FINDINGS OF FACT AND RECOMMENDATION on felony
                                 guilty plea before the United States Magistrate Judge as to Alfredo
                                 Vargas-Nava. Signed by Judge Richard P. Mesa. (mr, ) (Entered:
                                 0112112010)

 01 /22/2010                31   ORDER as to Alfredo Vargas-Nava, (Sentencing set for 3/9/2010
                                 08:00AM before Judge Philip R. Martinez.). Signed by Judge Philip
                                 R. Martinez. (mr, ) (Entered: 01122/2010)

 02/03/2010                 32   ORDER APPROVING AND ADOPTING REPORT AND
                                 RECOMMENDATION as to Alfredo Vargas-Nava. Guilty plea
                                 accepted. Signed by Judge Philip R. Martinez. (mr, ) (Entered:
                                 02/03/201 0)
 02/04/2010                 33   ORDER as to Alfredo Vargas-Nava, (Sentencing reset for 3/8/2010
                                 08:00AM before Judge Philip R. Martinez.). Signed by Judge Philip
                                 R. Martinez. (mr, ) (Entered: 02/04/2010)



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             Case 5:20-cr-00065-LHK     Document 2 Filed 02/19/20 Page 14 of 16 Page 6 of8


 03/08/2010                 34   Minute Entry for proceedings held before Judge Philip R.
                                 Martinez:Sentencing held on 3/8/2010 for Alfredo Vargas-Nava (1),
                                 Count(s) 1, 151 mths. impri. followed by 5 yrs. suprvd. relse .,
                                 $2,500 fine and $100 s/a; Count(s) 2, Dismissed. (Minute entry
                                 documents are not available electronically.) (Court Reporter Michael
                                 P. Nobles.) (mr, ) (Entered: 03/08/2010)
 03/09/2010                 35   NOTICE OF DEFENDANT'S RIGHT TO APPEAL as to Alfredo
                                 Vargas-Nava. Signed by Judge Philip R. Martinez. (mr,) (Entered:
                                 03/09/201 0)
 03/09/2010                 36   Sealed Statement of Reasons as to Alfredo Vargas-Nava (SOR
                                 documents are not available electronically.) (da, ) (Entered:
                                 03/09/201 0)
 03/09/2010                 37   JUDGMENT AND COMMITMENT as to Alfredo Vargas-Nava.
                                 Signed by Judge Philip R. Martinez. (da, ) (Entered: 03/09/201 0)
 06/27/2011                      (Court only) ***Set/Clear Flags as to Alfredo Vargas-Nava (mc6, )
                                 (Entered: 06/28/2011)
 06/27/2011                      *SEALED* If ordered by the court, all referrals will be assigned to
                                 Magistrate Judge Castaneda (mc6, ) (Entered: 06/28/2011)
 06/27/2011                 38   MOTION to Vacate under 28 U.S.C. 2255 (Civil Action 3:11-CV-
                                 271 PRM.) by Alfredo Vargas-Nava. (mc6, ) (Entered: 06/28/2011)
 06/30/2011                 39   MEMORANDUM OPINION AND ORDER as to Alfredo Vargas-
                                 Nava. Signed by Judge Philip R. Martinez. (mr, ) (Entered:
                                 06/30/2011)
 06/30/2011                 40   FINAL JUDGMENT as to Alfredo Vargas-Nava. IT IS ORDERED
                                 that Movant's civil case, EP-11-CV-271-PRM is DISMISSED
                                 WITH PREJUDICE. IT IS FURRER ORDERED that Movant is
                                 DENIED a CERTIFICATE OF APPEALABILITY and all pending
                                 motiona are DENIED AS MOOT. Signed by Judge Philip R.
                                 Martinez. (mr, ) (Entered: 06/30/2011)
 07119/2012             ~        (Court only) ***Motions terminated as to Alfredo Vargas-Nava: 38
                                 MOTION to Vacate under 28 U.S.C. 2255 (Civil Action 3:11-CV-
                                 271 PRM.) filed by Alfredo Vargas-Nava. (mt, ) (Entered:
                                 07/19/2012)
 12/29/2014                 41   MOTION to Reduce Sentence- USSC Amendment 782 by Alfredo
                                 Vargas-Nava. (set) (Entered: 12/30/2014)
 12/30/2014                 42   STANDING APPOINTMENT ORDER as to Alfredo Vargas-Nava.
                                 Signed by Judge Philip R. Martinez. (set) (Entered: 12/30/2014)
 12/30/2014                 43   Letter/Correspondence by Alfredo Vargas-Nava (set) (Entered:
                                 12/30/2014)
 12/30/2014                      SEE DOC <42>. ATTORNEY EDGAR HOLGUIN FOR
                                 ALFREDO V ARGAS-NAVA. (set) (Entered: 12/30/2014)



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Centralized CMIECF  LIVE - U.S. District Court:txwd
             Case 5:20-cr-00065-LHK      Document 2 Filed 02/19/20 Page 15 of 16 Page 7 of8


 10/01/2015
                    ~      -44   Sealed Document filed (mg2) (Entered: 10/01120 15)

 10/01 /2015               45    ORDER GRANTING 41 Motion to Reduce Sentence - USSC
                                 Amendment 782 as to Alfredo Vargas-Nava (1). Signed by Judge
                                 Philip R. Martinez. (mg2) (Entered: 10/01 /2015)
 10/01 /2015               46    ORDER REDUCING SENTENCE- USSC Amendment 782 as to
                                 Alfredo Vargas-Nava (1), Count(s) 1, Defendant's sentence is
                                 reduced to 121 months or time served, whichever is later; followed
                                 by 5 yrs. suprvd. relse. , $2,500 fme and $100 s/a; Count(s) 2,
                                 Dismissed. Signed by Judge Philip R. Martinez. (mg2) (Entered:
                                 10/01 /20 15)
 10/01 /2015               47    Order Reducing Sentence- NOT FOR PUBLIC DISCLOSURE
                                 page (SEALED) as to Alfredo Vargas-Nava (This document is not
                                 available electronically.) (mg2) (Entered: 10/01/2015)
 10/02/2015                48    Certified Mail Receipt as to Alfredo Vargas-Nava of 45 Order on
                                 Motion to Reduce Sentence - USSC Amendment 782, 46 Order
                                 Reducing Sentence - USSC Amendment 782, 4 7 Order Reducing
                                 Sentence - NOT FOR PUBLIC DISCLOSURE page (SEALED)
                                 (mg2) (Entered: 10/06/20 15)
 10/13/2015                49    Certified RETURN/RECD Receipt as to Alfredo Vargas-Nava of 45
                                 Order on Motion to Reduce Sentence - USSC Amendment 782, 46
                                 Order Reducing Sentence - USSC Amendment 782, 4 7 Order
                                 Reducing Sentence -NOT FOR PUBLIC DISCLOSURE page
                                 (SEALED) (mg2) (Entered: 10/13/2015)

 11/08/2016                50    SECOND AMENDED JUDGMENT as to Alfredo Vargas-Nava (1),
                                 Count(s) 1, Defendant's sentence is reduced to 121 months or time
                                 served, whichever is later; followed by 5 yrs. suprvd. relse., $2,500
                                 fme and $100 s/a; Count(s) 2, Dismissed. Signed by Judge Philip R.
                                 Martinez. (dt) (Entered: 11 /10/2016)

 11/08/2016                21 Sealed Statement of Reasons as to Alfredo Vargas-Nava (SOR
                                 documents are not available electronically.) (dt) (Entered:
                                 11110/2016)
 09/25/2017                53    Expedited Motion to Modify Restitution Order by Alfredo Vargas-
                                 Nava. (Attachments:# l Letter)(dt) (Entered: 09/26/2017)

 10/17/2017                      Text Order DENYING 53 Motion as to Alfredo Vargas-Nava (1) No
                                 Order of Restitution was entered and thus no modification is needed.
                                 Accordingly, the requested relief is not necessary and is DENIED.
                                 Entered by Judge Philip R. Martinez. (This is a text-only entry
                                 generated by the court. There is no document associated with this
                                 entry.) (PRM) (Entered: 10/17/2017)
 11/09/2017                54    (Court only) Returned mail for Alfredo Vargas-Nava; reOrder on
                                 Motion for Miscellaneous Relief, ; Returned for: RETURN TO
                                 SENDER, NOT DELIVERABLE AS ADDRESSED, UNABLE TO
                                 FORWARD (dt) (Entered: 11/13/2017)



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             Case 5:20-cr-00065-LHK
Centralized CMIECF                      Document 2 Filed 02/19/20 Page 16 of 16 Page 8 of8
                    LIVE- U.S. District Court:txwd



 02/18/2020                55   Probation/Supervised Release Jurisdiction Transferred to Northern
                                District of California as to Alfredo Vargas-Nava signed by Judge
                                Philip R. Martinez. Transmitted Transfer of Jurisdiction form, with
                                certified copies of indictment, judgment and docket sheet. (dt)
                                (Entered: 02/ 18/2020)




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